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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA


                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,                             4:22-CR-40040-LLP
                    Plaintiff,
                                              ORDER DENYING DEFENDANT’S
       vs.                                      MOTION FOR RETURN OF
                                                      PROPERTY
KATURAH DASHON BLUEARM,
                                                    DOCKET NOS. 22 & 23
                    Defendant.



                                  INTRODUCTION

      Pending before the court is a motion pursuant to Fed. R. Crim. P. 41(g)

by defendant Katurah Dashon Bluearm seeking the return of $3,000 cash

seized by the government. Docket Nos. 22 & 23. The government resists the

motion. Docket No. 27. The district court, the Honorable Lawrence L. Piersol,

referred this motion to this magistrate judge for determination pursuant to 28

U.S.C. § 636(b)(1)(A).

                                      FACTS

      Ms. Bluearm was indicted on a charge of conspiracy to distribute 500

grams or more of a mixture and substance containing methamphetamine on

April 5, 2022. Docket No. 1. She was arrested on April 14, 2022. Docket No.
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19. According to Ms. Bluearm, she had $3,000 in cash at the time of her arrest

and law enforcement seized those monies.

      She now files a motion seeking the return of that cash. Docket No. 22.

Initially, she represented to the court that the money had been seized pursuant

to a search warrant. Id. When the court requested defense counsel to file a

copy of the search warrant as a part of Ms. Bluearm’s motion, counsel filed an

amended motion clarifying that the money was not seized pursuant to a search

warrant. Docket No. 23. Rather, the money was seized incident to

Ms. Bluearm’s valid arrest on the arrest warrant in this case. Id.

      Ms. Bluearm asserts that she won $1,337.50 in gambling on April 9,

2022. This assertion is supported by a Form W-2G issued to her from the

Royal River Casino on April 9, 2022, indicating that Ms. Bluearm won the

stated amount while playing a slot machine. See Docket No. 23-2.

Ms. Bluearm asserts that $2,000 was received by her on April 4, 2022, from

the Cheyenne River Sioux Tribe as payment under a pandemic relief program.

See Docket No. 23-1 at pp. 1 and 3. Thus, Ms. Bluearm asserts she can

demonstrate that the money she had was received from legitimate sources and

was not the proceeds of illegal activity.

      The government asserts that the $3,000 was seized pursuant to civil

forfeiture statutes and that any claims Ms. Bluearm might wish to make for the

return of the $3,000 cash must be litigated in that forfeiture action. Docket

No. 27.




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                                  DISCUSSION

       Rule 41(g), on which Ms. Bluearm’s motion is premised, provides as

follows:

       Any person aggrieved by an unlawful search and seizure of
       property or by the deprivation of property may move for the
       property’s return. The motion must be filed in the district where
       the property was seized. The court must receive evidence on any
       factual issue necessary to decide the motion. If it grants the
       motion, the court must return the property to the movant, but may
       impose reasonable conditions to protect access to the property and
       its use in later proceedings.

See Fed. R. Crim. P. 41(g). Prior to the 2002 amendments to Rule 41, the

above provision was located in subsection (e) of Rule 41. 3A Charles A. Wright

& Sarah N. Welling, Federal Practice and Procedure, Criminal § 690 at 243 (4th

ed. 2010). Therefore, cases prior to 2002 citing to Rule 41(e) are authoritative

as well as post-2002 cases citing to Rule 41(g). Id. The Federal Rules of

Criminal Procedure do not apply to civil forfeiture proceedings. Fed. R. Crim.

P. 1(a)(5)(B).

       The government cites to an Eleventh Circuit case which discusses the

interplay between civil forfeiture proceedings and motions for return of property

under Fed. R. Crim. P. 41(g). Docket No. 27 at p. 2. The Eleventh Circuit

holds that where a civil forfeiture proceeding exists, motions for return of

property must be made under the umbrella of the civil forfeiture statutes, while

Rule 41(g) is reserved for those circumstances where property is seized outside

the forfeiture process. United States v. Bryant, 685 Fed. Appx. 855, 856-57

(11th Cir. 2017). A number of other circuits have held that civil forfeiture

proceedings are an adequate remedy at law for a person to dispute the
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government’s possession of seized property and that Rule 41(g) represents an

equitable remedy which should only be resorted to where the civil forfeiture

proceeding is inadequate to protect the person’s property rights. De Almeida v.

United States, 459 F.3d 377, 382 (2d Cir. 2006); United States v. Price, 914

F.2d 1507, 1511 (D.C. Cir. 1990) (per curiam); Shaw v. United States, 891 F.2d

602, 603-04 (6th Cir. 1989); United States v. Currency $83,310.78, 851 F.2d

1231, 1233-35 (9th Cir. 1988).

      In In re Harper, 835 F.2d 1273, 1274-75 (8th Cir. 1988), the court noted

that although a defendant was entitled to file a Rule 41(g) motion, the right to

file such a motion did not necessarily mean the district court should grant the

motion. Rather, the court noted Rule 41(g) sounds in equity, and a court

should not exercise this equitable jurisdiction except under “extraordinary”

circumstances and that such power “is to be exercised with caution and

restraint.” Id. at 1274. The court affirmed the district court’s denial of the

defendant’s Rule 41(g) motion where a parallel forfeiture proceeding was

had. Id.

      In other cases, the Eighth Circuit has held generally that a defendant is

not entitled to return of her property under Rule 41(g) where the property is

“subject to forfeiture.” Jackson v. United States, 526 F.3d 394, 397 (8th Cir.

2008); United States v. Vanhorn, 296 F.3d 713, 719 (8th Cir. 2002). When a

motion for return of property is made while the criminal prosecution is still

pending, the burden is on the movant to show that they are entitled to lawful

possession of the property, including that the property is not subject to

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forfeiture. United States v. Chambers, 192 F.3d 374, 377 (3d Cir. 1999). If the

motion is made after the conclusion of criminal proceedings, the burden shifts

to the government to show it has a legitimate reason to retain the property. Id.

      Here, the government asserts that the $3,000 was seized pursuant to the

civil forfeiture statutes. As the above cases demonstrate, a movant has no

right to return of property under Rule 41(g) if the property is the subject of

forfeiture proceedings. Jackson, 526 F.3d at 397; Vanhorn, 296 F.3d 719.

Because the criminal prosecution in this case is still pending, the burden is on

Ms. Bluearm to demonstrate she has a lawful right to possession of the

property, including proof that the property is not the subject of forfeiture

proceedings. Id. She has not carried her burden. The proper forum for

Ms. Bluearm to litigate her right to possession of the $3,000 at issue is within

the confines of the forfeiture proceedings. Ms. Bluearm makes no allegation

that the forfeiture proceedings do not provide her with equitable or just means

to assert her claim or an adequate remedy at law.

      Under the civil forfeiture statutes, the government has 90 days to

consider whether to initiate a forfeiture action by filing a complaint. 18 U.S.C.

§ 983. If it does not do so, it must promptly return the property absent an

extension of the 90-day deadline. 18 U.S.C. § 983(a)(3)(B). It has not yet been

90 days since the government seized the property at issue. That deadline will

arrive on July 13, 2022. Under the law, then, the government has until July

13 to determine whether it will seek forfeiture of the property at issue.

Accordingly, it is hereby

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      ORDERED that Ms. Bluearm’s motion for return of property pursuant to

Fed. R. Crim. P. 41(g) [Docket Nos. 22 & 23] is denied.

      DATED this 12th day of May, 2022.


                                     BY THE COURT:



                                     VERONICA L. DUFFY
                                     United States Magistrate Judge




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